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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                  :
                                          :
      v.                                  :     CRIMINAL NO. 20-45
                                          :
ABDUR RAHIM ISLAM                         :
SHAHIED DAWAN                             :
KENYATTA JOHNSON                          :
DAWN CHAVOUS                              :
_______________________________________________________________________________

 McHUGH, J.                                                                  October 14, 2021

                                         MEMORANDUM

        This is a case where the Government alleges a series of financial crimes and political

 corruption. The indictment includes charges of RICO conspiracy, bribery, honest services fraud,

 wire fraud, and tax offenses. Defendants are Abdur Rahim Islam, the former chief executive

 officer and board president of Universal Community Homes (“UCH”); Shahied Dawan, UCH’s

 former chief financial officer and secretary; Philadelphia City Councilman Kenyatta Johnson;

 and Mr. Johnson’s wife, Dawn Chavous.

        On February 13, 2020, this Court, with the consent of the parties, designated this matter

 complex, finding that “it is unreasonable to expect adequate preparation for pretrial proceedings

 or the trial itself with in the time limits established under the Speedy Trial Act.” ECF No. 28.

 Further, this Court found that the ends of justice outweighed the best interests of the public and

 the defendants in a speedy trial. Id.

        On June 24, 2020, this Court set a trial date of January 11, 2021. ECF No. 42. But the

 state of the pandemic and the resulting limitations imposed upon court proceedings in this

 District rendered that trial date an impossibility, and so on October 30, 2020, this complex

 matter was continued with the consent of all parties. ECF No. 68.
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           On January 29, 2021, this Court granted the joint motion for severance filed by defendants

    Johnson and Chavous holding that Counts Nine and Ten of the Indictment would be severed from

    the remaining counts and tried separately. ECF No. 77. The Government has moved to set a trial

    date, to exclude certain time under the Speedy Trial Act, and advanced proposals for the structure

    and timing of trial on the pending charges. Having weighed the competing interests of the parties,

    the Government’s motion will be granted in part.

           1) Calculation of time under the Speedy Trial Act

          In a series of Standing Orders, beginning on March 13, 2020, the Chief Judge has

regularly assessed the state of the pandemic and the actions taken and recommended by public

health officials to mitigate the impact of the virus, and the resulting limitations that are

appropriate in court proceedings in this District as a result. 1 In every Order, the Chief Judge has

concluded that criminal trials must be continued, or only conducted on a limited basis, in order to

protect the health of all participants and maintain each defendant’s right to a fair trial. In the

cumulative Standing Orders issued to date, the Chief Judge determined that all criminal trials must

be continued for these reasons during the period from March 13, 2020, through September 7,

2021, with the exception of a limited number of trials that have been held or may take place soon

consistent with a careful set of precautions. As the Chief Judge has explained, those precautions

do not allow more than one criminal trial to take place at a time. Under those guidelines, a total of

four trials were completed in September and October 2020, when conditions permitted, and

additional trials occurred beginning on May 3, 2021, and are continuing at this time.




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 The pertinent Standing Orders were issued on March 13, 2020, April 10, 2020, May 29, 2020, July 31, 2020, August
31, 2020, October 30, 2020, November 25, 2020, January 15, 2021, February 12, 2021, March 18, 2021, March 30,
2021, and June 7, 2021.
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       In the most recent Standing Order, issued on June 7, 2021, the Chief Judge stated:

       As the Court proceeds with the resumption of jury trials, it remains critical that the Court
       take reasonable steps to ensure that the conduct of jury trials in a pandemic environment
       will provide reasonable and prudent consideration of the public health and the health of
       all trial participants while providing accused defendants with the full range of trial rights
       accorded by law in a setting that provides for the full and appropriate presentation and
       consideration of the evidence and arguments. Based on the current public health situation
       and guidance, the Court remains in Phase Two of its COVID-19 Reopening Guidelines
       with numerous precautions in place. The Standing Orders requiring the wearing of masks
       in all common or public areas of EDPA courthouses remain in effect, and physical
       distancing signage and markers remain in place. While the Court remains in Phase Two,
       it will also remain in the initial test period for jury trials under the Initial Guidelines for
       the Reinstitution of Jury Trials, during which only one criminal trial may be conducted at
       a time.

The Chief Judge stated that “the Court anticipates that only a limited number of criminal jury

trials will be held through September 7, 2021. During this period, trials will continue to be

scheduled on a staggered basis in accordance with the master list maintained by the Court or

based on such other criteria as may be developed by the Court.”

       In each Standing Order dating back to March 13, 2020, the Chief Judge found that the

period of delay in each continued case shall be excluded under the Speedy Trial Act, as the ends

of justice served by granting a continuance outweigh the best interest of the public and each

defendant in a speedy trial. In the most recent Standing Order, on June 7, 2021, echoing its

earlier rulings excluding all time under the Speedy Trial Act since March 13, 2020, the Chief

Judge stated:

       Considering the foregoing, the Court concludes that, as jury trials proceed on the limited
       basis described above, with the current health and safety protocols and limitations in
       place, it is essential that the Court at the same time find and conclude that resulting trial
       delays are excludable time under the Speedy Trial Act, as proceeding otherwise will
       result in an untenable situation requiring multiple trials to be scheduled to occur
       simultaneously. That would be contrary to applicable public health guidance, would
       negatively impact jurors, Court personnel, counsel, and witnesses, and would likely also
       interfere substantially with the trial process, including an accused defendant’s right to a
       fair trial.

       It is therefore ORDERED that the time period from June 7, 2021, through the date trial
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        commences consistent with the applicable health and safety protocols and limitations or
        September 7, 2021, whichever is earlier, shall be excluded under the Speedy Trial Act,
        18 U.S.C. § 3161(h)(7)(A), in all criminal cases in this district. The Court finds the ends
        of justice served by continuances that will be necessary in those cases outweigh the best
        interest of the public and each defendant in a speedy trial because, given the ongoing
        circumstances regarding COVID-19 in this district, the Court’s health and safety
        protocols and limitations remain necessary at this time and the resumption of jury trials
        without these health and safety protocols and limitations prior to September 7, 2021,
        would jeopardize public health and safety and pose significant risks of exposure and
        transmission of the virus to trial participants, which would make continuation of a trial
        impossible or result in a miscarriage of justice. This period of exclusion is in addition to
        the period of exclusion previously granted for the time period from March 13, 2020,
        through June 7, 2021. The Court may extend the period of exclusion by further order as
        circumstances may warrant, and the presiding judge in any criminal case for which trial
        will be continued based on this Standing Order may make any additional findings and
        exclude additional time, as necessary and appropriate, regarding the scheduling of any
        new date for trial. Any motion by a criminal defendant seeking an exception to this
        Standing Order for the purpose of exercising the defendant’s speedy trial rights shall be
        referred to the Chief Judge for disposition.

       The findings of the Chief Judge are hereby adopted and incorporated into the record in this

 case, and those findings, together with the designation of this case as complex, warrant exclusion

 under the Speedy Trial Act of any delay until the scheduled date for trial.

       2.    Structure and Sequence of Trial

       As an initial matter, the Government’s request that the Court reconsider its order of

severance is denied, as I remain convinced that severance was properly granted.

       The Defense’s suggestion that Defendants Johnson and Chavous be tried alone on Counts 9

and 10 lacks merit. Defendants Islam and Dawan were also named in those Counts and I have

previously determined that they were properly joined. I fail to see any unusual risk of prejudice

from four defendants being tried together on counts on which they were jointly indicted. The

severance granted adequately protects Defendants’ rights.

       The Government’s suggestion that Islam and Dawan first be tried on every Count except 9

and 10 imposes on them the burden of two separate trials and undermines judicial economy. Its

alternative suggestion of a bifurcated proceeding, with all four defendants tried first on Counts 9
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and 10, followed by a continuation of trial before the same jury on the remaining Counts, is the

most efficient way to balance the needs of all parties with maximum efficiency. I have considered

and reject the argument that such a structure creates issues of double jeopardy as to Defendants

Islam and Dawan. The principal drawback to a bifurcated proceeding is the demands placed on the

jury, but that is offset by the efficiency gained in having a single jury resolve the entire case. I have

also considered the objections of Johnson and Chavous about the potential impact of pandemic

precautions, but find the concerns raised exaggerated, particularly in light of the date when I expect

trial to commence.

       An order will be entered. setting trial for early February, structured as described above.




                                                            /s/ Gerald Austin McHugh
                                                        United States District Judge




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